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FOR THE WESTERN DISTRICT OF NEW YORK PG ey ‘of ,
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UNITED STATES OF AMERICA 18-CR-6124-EAW
INFORMATION
-VS- (Felony)
Violation:
MICHAEL GALJOUR, 21 U.S.C. § 846
Defendant. (1 count)

 

COUNT 1
(Narcotics Conspiracy)
The United States Attorney Charges That:

Between on or about July 15, 2016, and on or about December 7, 2016, in the Western
District of New York, and elsewhere, the defendant, MICHAEL GALJOUR, did knowingly,
willfully and unlawfully combine, conspire and agree with others, known and unknown to
the United States Attorney, to commit the following offenses, that is, to possess with intent
to distribute, and to distribute, 50 grams or more of methamphetamine, a Schedule II
controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(A).

All in violation of Title 21, United States Code, Sections 846.
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DATED: Rochester, New York, August Z4 2018.

JAMES P. KENNEDY, JR.
Uni ates Attorney

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